     Case 3:06-cv-00127-MMH Document 53 Filed 04/04/19 Page 1 of 3 PageID 886



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION



THOMAS JAMES MOORE,

                     Petitioner,

v.                                                             Case No. 3:06-cv-127-J-34

SECRETARY, FLORIDA
DEPARTMENT OF CORRECTIONS,
et al.,

                Respondents.
_______________________________

                                         ORDER

         This matter comes before the Court on Thomas Moore’s Motion Requesting that

Either Respondents be Ordered to File Legible Exhibits with a Complete Index or

Alternatively that this Court Authorize Petitioner’s Counsel to Scan and File the Fully

Paginated State Court Records on Appeal (Motion; Doc. 50) filed on March 21, 2019. In

the Motion, Moore “requests that either this Court direct Respondents to file and serve

legible exhibits with a complete index, or alternatively, authorize Mr. Moore’s undersigned

counsel to have the state court record on appeal scanned and electronically filed with this

Court.” Motion at 1. Respondents filed a brief in response on March 22, 2019. See

Amended Objection to Petitioner’s Motion concerning Respondents’ Exhibits and Motion

to Enforce Court Orders Regarding the Deadline for the filing of Petitioner’s Reply

(Response; Doc. 52). In the Response, Respondent contends that the Motion is a delay

tactic because Moore’s counsel had these documents and the opportunity to challenge

them for 956 days and counsel is already in possession of all of Moore’s state appellate
  Case 3:06-cv-00127-MMH Document 53 Filed 04/04/19 Page 2 of 3 PageID 887



court records. Response at 7-8. Moreover, Respondents maintain that they cannot control

how the state court clerk compiled the records and they have otherwise been forthcoming

with Moore and his counsel. Id. at 8-9. Respondents additionally request that the Court

preclude Moore from filing an additional reply and consider this case ripe for adjudication.

Id. at 9-10.

       Rule 7 of the Rules Governing Section 2254 Cases provides, “If the petition is not

dismissed, the judge may direct the parties to expand the record by submitting additional

materials relating to the petition.” The Court notes that on August 1, 2016, the Court

granted in part Moore’s Motion to Compel and advised the parties that they “may

supplement the record with any documents they determine are relevant to the issues

before the Court.” Doc. 33 at 1. Pursuant to the Court’s previous order and to Rule 7 of

the Rules Governing Section 2254 Cases, Moore’s Motion is due to be granted to the

extent that he may supplement the record with any documents he deems relevant to the

issues before the Court or with records contained in Respondents’ exhibits that he

considers incomplete or illegible. Additionally, Respondents request to consider this case

ripe is due to be denied in light of the Court’s decision to allow Moore the opportunity to

enlarge the record.

       Accordingly, it is

       ORDERED AND ADJUDGED that:

       1)      The Motion is GRANTED in part to the extent that Moore may supplement

the record with any documents he considers relevant or from the state court records on

appeal that Moore believes were not completely and legibly provided in Respondents’
 Case 3:06-cv-00127-MMH Document 53 Filed 04/04/19 Page 3 of 3 PageID 888



exhibits. Any supplemental records must be filed with the Court by May 3, 2019. The

Motion is otherwise DENIED.

        2)    Respondent’s request to consider this case ripe is DENIED. Moore shall file

his Reply to Respondent’s Response by June 3, 2019.

        DONE AND ORDERED at Jacksonville, Florida, this 4th day of April, 2019.




Jax-8

C:      Counsel of record
